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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


  MARGARET McGREEVY, GERALD J.
  JACOBY, and ELAINE DANIELLE
  ANDERSON, individually and on behalf of all                No. 14 Civ. 7457 (LGS) (MHD)
  others similarly situated,

                                 Plaintiffs,

                  v.

  LIFE ALERT EMERGENCY RESPONSE,
  INC.,

                                 Defendant.


DECLARATION OF MELISSA L. STEWART IN SUPPORT OF JOINT MOTION FOR
FINAL APPROVAL OF SETTLEMENT AGREEMENT AND PLAINTIFFS’ MOTION
FOR APPROVAL OF ATTORNEYS’ FEES, REIMBURSEMENT OF EXPENSES, AND
                 APPROVAL OF SERVICE PAYMENTS

        I, Melissa L. Stewart, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, as

follows:

        1.      I am an associate at Outten & Golden LLP (“O&G”) in New York, New York,

class counsel herein. O&G is a 50+ attorney firm that focuses on representing plaintiffs in a

wide variety of employment matters, including individual and class action litigation, as well as

contract and severance negotiations.

        2.      I am one of the lawyers primarily responsible for prosecuting Plaintiffs’ claims on

behalf of the class.

        3.      I make these statements based on personal knowledge and would so testify if

called as a witness at trial.
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Background and Experience of Attorneys and Paralegals

       4.      Prior to joining the firm in November 2013, I clerked for the Honorable James

Orenstein of the United States District Court for the Eastern District of New York and the

Honorable Dickinson R. Debevoise of the United States District Court for the District of New

Jersey. I also worked as an associate at Woodley & McGillivary in Washington, D.C., where I

litigated class wage and hour cases.

       5.      I received a B.A., magna cum laude, in Comparative Literature and Hispanic

Studies from the University of Pennsylvania and a J.D., magna cum laude, from Fordham

University School of Law in 2009. I am active in the American Bar Association where I am a

member of the Section on Labor and Employment Law. I am also a member of the National

Employment Lawyers Association (NELA), NELA – New York Chapter, the New York City

Bar Association, and the Federal Bar Council.

       6.      Rachel Bien is a partner at O&G and co-Chair of the firm’s Class Action Practice

Group. She joined O&G in October 2006 after a clerkship on the U.S. Court of Appeals for the

Ninth Circuit. She earned her B.A. from Brown University in 2000 and her J.D., cum laude,

from Brooklyn Law School in 2005, where she also received an Edward V. Sparer Public

Interest Law Fellowship. Ms. Bien is active in the American Bar Association’s Section on Labor

and Employment Law. Ms. Bien speaks frequently on wage and hour topics and other issues

affecting low-wage workers.

       7.      Chauniqua D. Young is an associate at O&G. Prior to joining the firm in

September 2014, she was a Bertha Justice Fellow at the Center for Constitutional Rights, where

she litigated class action cases on a range of civil rights issues. Ms. Young received her B.A. in

Liberal Arts from Sarah Lawrence College and her J.D. from Benjamin N. Cardozo School of
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Law in 2012. Ms. Young is active in the New York City Bar Association where she currently

serves on the Civil Rights Committee.

       8.       Rebecca Sobie is a staff attorney at O&G. Prior to joining the firm in 2014, Ms.

Sobie was Of Counsel at the Genie Harrison Law Firm. She received a B.A. in Sociology and

Social Sciences and Communication from the University of Southern California, and her J.D.

from Pace University School of Law in 1995.

       9.       LiAnne Chan is a paralegal at O&G. Prior to joining the firm in 2014, she

worked as a paralegal with Steven T. Gee, P.C. Ms. Chan received her B.S. in Finance from St.

John’s University.

       10.      Neesa Rajkumar is a paralegal at O&G. Prior to joining the firm in 2015, she

interned at the Equal Employment Opportunities Commission. Ms. Rajkumar is currently

pursuing a B.A. in Political Science and Philosophy at the John Jay College of Criminal Justice.

       11.      Class counsel has substantial experience prosecuting large-scale wage and hour

class and collective actions, in particular, misclassification cases like this one.

       12.      Courts have repeatedly found O&G to be adequate class counsel in wage and hour

class actions. See, e.g., Flores v. Anjost Corp., No. 11 Civ. 1531, 2014 WL 321831, at *3

(S.D.N.Y. Jan. 29, 2014) (O&G attorneys “have substantial experience prosecuting and settling

employment class actions, including wage and hour class actions[,] and are well-versed in wage

and hour law and class action law”) (internal quotation marks and citation omitted); Capsolas v.

Pasta Res. Inc., No. 10 Civ. 5595, 2012 WL 1656920, at *2 (S.D.N.Y. May 9, 2012) (appointing

O&G as class counsel and noting that O&G attorneys “have years of experience prosecuting and

settling wage and hour class actions, and are well-versed in wage and hour law and in class

action law”).
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Claims Administration

       13.      The parties retained Rust Consulting, Inc. (“Rust”), a third-party claims

administrator, to administer the settlement.

       14.      Both before the notice issued and throughout the notice process, class counsel

communicated regularly with the claims administrator to oversee the administration process and

responded to numerous inquiries from class members.

       15.      Class counsel anticipates that additional time will be spent administering the

settlement in the future. In class counsel’s experience, overseeing the final steps of the

settlement process requires an ongoing commitment.

       16.      Plaintiffs’ counsel believes that Rust’s estimated expenses of $30,000 to complete

the settlement administration tasks are reasonable, given the size of the class and the services

required.

       17.      A true and correct copy of the Declaration of Bruce Holman, who oversaw the

administration of the settlement at Rust, is attached as Exhibit G.

       18.      A true and correct copy of the Class Notice is attached as Exhibit B.

Settlement Agreement and Payments

       19.      Attached as Exhibit A is a copy of the Settlement Agreement.

       20.      The average settlement payment is $1,499 per FLSA class member, $2,136 New

York class member, and $1,711 per Florida class member. Payments range from $23 to $6,386

per class member for the FLSA class, $5 to $13,665 per class member for the New York class,

and $23 to $8,245 per class member for the Florida class.




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       21.     The claims rate for the New York and Florida classes exceeded the 50 percent

floor for both state law classes. Florida class members claimed 58% of the available funds and

New York class members claimed 53% of the available funds.

Discovery and Mediation

       22.     Class counsel engaged in substantial discovery before deciding to explore

settlement, including responding to written discovery requests served on the Plaintiffs and

collective members, producing responsive documents, and reviewing thousands of pages of

documents and emails from Defendant’s witnesses.

       23.     In advance of mediation, Defendant produced classwide personnel information,

including dates of work, time logs, and compensation.

       24.     Class counsel worked closely with an expert to analyze the data and develop a

damages model.

       25.     At the mediation, the parties reached agreement on the material terms of the

settlement. Over the next few weeks, the parties negotiated a detailed settlement agreement.

       26.     The settlement is a substantial compromise of a fiercely disputed matter. The

settlement will provide significant benefits to each settlement class member who filed a claim

and/or previously joined the case as a collective member.

       27.     There are 372 collective members, of whom 85 are also putative class members in

a related case, Barragan v. Life Alert Emergency Response, Inc., No. BC556127, filed in Los

Angeles County Superior Court on September 9, 2014.




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Attorney Time Spent on Settlement Negotiations and Litigation

       28.      Class counsel spent approximately 3,024.25 attorney, paralegal, and support staff

hours litigating and settling this case. Attached as Exhibit C is a summary of the time spent by

each attorney, paralegal, and support staff member as of October 6, 2016.

       29.      These hours are reasonable for a case like this and were compiled from

contemporaneous time records maintained by each attorney, paralegal, and support staff member

participating in the case.

       30.      Class counsel made every effort to have the work performed by the attorney or

paralegal with the lowest hourly rate who was able to effectively perform it.

       31.      Attached as Exhibit D are the contemporaneous time records.

       32.      Multiplying the hours by the hourly rate of each attorney, paralegal, and staff

member results in a lodestar amount of $1,060,602.50.

       33.      Class counsel’s efforts to date have been without compensation, and their

entitlement to payment has been wholly contingent upon achieving a good result.

       34.      O&G ordinarily and regularly bills clients on an hourly fee basis, based upon each

attorney’s standard hourly rate. Currently, O&G’s rates range from $550 to $1,100 per partner’s

hour, $600 to $850 per counsel’s hour, $285 to $490 per associate’s hour, $235 per law clerk’s

hour, and $220 to $275 per paralegal’s hour. The firm’s clients regularly accept and pay O&G’s

hourly rates.

       35.      Class counsel takes on difficult cases like this one because we believe that they

help push the law in a direction favorable to employees. We do so despite the very real risk that

the case could result in an expensive loss. For example, in Pippins v. KPMG LLP, No. 11 Civ.

377, 2012 WL 6968332 (S.D.N.Y. Nov. 30, 2012), a professional exemption case on behalf of
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junior auditors on which O&G was counsel, we lost on summary judgment and lost on appeal

after O&G spent $2,298,699.45 in lodestar. In Clarke v JPMorgan Chase Bank, N.A., No. 08

Civ. 2400, 2010 WL 1379778 (S.D.N.Y. Mar. 26, 2010), the court granted summary judgment

against the plaintiffs, holding that IT workers were exempt under the computer professional

exemption. O&G, which was one of three co-counsel firms, spent $631.985.00 in lodestar and

$15,428.39 in out of pocket expenses in that case alone.

       36.     O&G has also invested substantial resources in other risky cases that resulted in

no recovery. In Barenboim v. Starbucks Corp., 21 N.Y.3d 460 (2013), we lost at the New York

Court of Appeals after investing $2,142,764.75 in lodestar and $70,925.40 in out of pocket

expenses. In LaMarca v. The Great Atlantic & Pacific Tea Co., the defendant filed for

bankruptcy after firm had invested $2,953,808.95 in lodestar.

       37.     As of March 14, 2016, O&G incurred approximately $34,141.96 in out-of-pocket

costs and expenses in prosecuting this litigation. These expenses include filing fees, process

server fees, postage, travel expenses, printing, electronic research, messenger fees, a portion of

the mediator’s fees, and the fees of the expert who analyzed data and developed the damages

model that Plaintiffs used at mediation. A summary of itemized costs is attached as Exhibit E.

       38.     Class counsel’s costs were incidental and necessary to the representation of the

classes.

Plaintiffs’ Efforts on Behalf of the Settlement Classes

       39.     Plaintiffs Margaret McGreevy, Gerald Jacoby, and Danielle Anderson

(“Plaintiffs”) made important contributions to the prosecution and fair resolution of this action

on behalf of class members.



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        40.      Plaintiff McGreevy initiated the lawsuit, provided class counsel with detailed

factual information and documents regarding her duties and hours worked as a direct seller, and

the duties and hours of other class members, and responded to Defendant’s discovery requests.

In addition, she helped to support Plaintiffs’ Section 216(b) motion by reviewing and submitting

a declaration.

        41.      Plaintiffs Jacoby and Anderson increased the value of the case by joining as class

representatives for class members who worked in Florida. They responded to Defendant’s

discovery requests and assisted class counsel with their investigation of the facts.

        42.      Plaintiffs helped to prepare for the mediation and were available to class counsel

during the litigation and negotiations.

        43.      Plaintiffs reviewed the settlement terms and provided feedback.

        44.      Although Plaintiffs no longer worked at Defendant, they nevertheless faced the

risk that their current or future employers might retaliate against them for their involvement in

this lawsuit.

Additional Exhibits

        45.      Attached as Exhibit F is a true and accurate copy of the resume of the mediator,

David Rotman.

        46.      Attached as Exhibit H is a true and accurate copy of the declaration of Maia

Goodell.

        47.      Attached as Exhibit I is a true and accurate copy of the declaration of Gus May.

        48.      Attached as Exhibit J is a true and correct copy of a transcript of a hearing, held

on December 19, 2014, in the case captioned Amador v. Morgan Stanley & Co., LLC, No. 11

Civ. 4326 (S.D.N.Y.).
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       I declare under penalty of perjury, under 28 U.S.C. § 1746, that the foregoing is true and

correct.

Executed this 11th day of October 2016
New York, New York.

                                            /s/ Melissa Stewart
                                            Melissa L. Stewart
                                            Outten & Golden LLP
                                            685 Third Avenue, 25th Floor
                                            New York, NY 10017
                                            Telephone: (212) 245-1000




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